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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

  NUVASIVE, INC.                                   )
                                                   )
                   Plaintiff,                      )
                                                   )
   v.                                              )      Civil Case No. 6:17-cv-2206-orl~lS-GJK.
                                                   )
   ABSOLUTE MEDICAL, LL.C, GREG                    )      INJUNCTIVE RELIEF SOUGHT
   SOUFLERIS, and DAVE HAWLEY,                     )
                                                   )
                   Defendants,                     )
                                                   )

                      DECLARATION OF CHRISTOPHER W. CARDWELL

            Under penalty of perjury and pursuant to 28 U.S.C. Section 1746, Declarant, Christopher

   W. Cardwell, states that:

            1.     My name is Christopher W. Cardwell. I am above the age of 18. and am fully

   competent to give the testimony contained in this Declaration, all of which comes from my

   personal knowledge. ·

            2.     Exhibit A to this Declaration is a true and correct copy of a November 28, 2017,

   letter from me to Absolute Medical's attorneys. Absolute Medical failed to materially respond to

   this letter.

            3.     Exhibit B to this Declaration is a true and correct copy of an email exchange

   between Absolute Medical's lawyer and me.

           4.      Exhibit C to this Declaration is a true and correct copy of a December 13, 2017,

   letter from me to one of Absolute Medical's attorneys. Absolute Medical failed to materially

  respond to this letter.

           Further, this Declarant sayeth not.




                                                                                     , ..


                                                                                     ?~~:,:-
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                                                                                                    EXHIBIT
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                                                                                            -----.-...,..-
                                                                                                              ,.
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            I declare under penalty of perjury the forego·   ect




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                                                                              GULLETT SANFORD
    GSRM
     LAW
                                                                              ROBINSON & MARTIN PLLC
                                                                              150 THIRD AVEllUE Sovnl, SUITE 1700


     November 28, 2017
                                                                       I
                                                                         J    NAslMllE, TN 37201
                                                                              M 615.244.4994
                                                                              , 615.256.6339
                                                                              W OSllM. COM
     Via FedEx and Email

     Adams and Reese LLP
     350 East ·Las Olas Blvd., Suite 1110
     Fort Lauderdale, FL 33301
     Attention: Christopher Mills
     christopher.mills@arlaw.com

     Re: Notice of Material Breach

     Dear Mr. Mills,                                                                                                        I
     Reference is·made to:                                                                                                  I
        (a) the Exclusive Sales Representative Agreement (the "Sales Agreement''), effective
            January 1, 2017, by and between NuVasive, Inc. (''NuVasive") and Absolute Medical
                                                                                                                            I·
            LLC ("Absolute Medical"); and
                                                                                                                            I'
        (b) the email sent by Greg Soufleris to NuVasive Sales Leadership on November 27, 2017, in
            which Mr. Soufleris informed NuVasive of his resignation from "our partnership" (the
            ''Termination Notice").

     I have been retained by NuVasive in connection with Absolute Medical's purported tennination
     of the Sales Agreement as set forth.in the Termination Notice.

     Pursuant to Section 9.01 of the Sales Agreement, the term of the Sales Agreement commenced
     on January 1, 2017, and continues through December 31, 2021. Absolute Medical haS no right or
     ability to unilaterally terminate or "resign" under the Sales Agreement and such purported
     tennination or resignation is itself a material breach under the Sales Agreement.

     We are currently investigating the situation and are evaluating our legal options, including
     bringing any pecessary legal action to seek equitable remedies, including injunctive relief, and
     recover damages for Absolute Medical's material breach under the Sales Agreement;

     Based on the foregoing, we demand ~t Mr. Soufleris and Absolute Medical confinn in writing
     by the close of business on November 29, 2017, that he and it will take the following actions
     until the parties are able to agree on the te1ms of a settlement for Absolute Medical's material
     breach of the Sales Agreement:

        1. Absolute Medical and its current sales personnel will continue to cover all surgical cases
           in the Tenitory (as defined in the Sales Agreement); and




                                                                                                        .. _EXHIBIT
                                                                                                              A.
                                                                                                              .     ~   ~
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                          ..                                         -----··------···-----·....·--..··-··-·- ----



                     Christopher Mills
                     November 28, 2017
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                               2. Absolute Medical will conduct its busin¢~s in the ordinary course and in a manner
                                  consistent with past practice and use its b¢st efforts to maintain the business, employees,
                                  agents, customers, assets and operations. as an ongoing concern in accordance with past
                                  practice and under its obligations contained in the Sales Agreement

                     NuVasive takes its restrictive covenants, and its business, confidential, proprietary, and trade
                     secret information very seriously, and will take all necessary and appropriate steps to prevent any
                     unlawful competition and/or misappropriation or disclosure of its trade secrets or confidential
                     information, or any breach of its contracts, t01tious inte1ference with its business relations, or
                     usurpation of its corporate opportunities.

                     Absolute Medical is now on notice of potential litigation and is i·equired to take all necessary
                     steps to presenre, and not destroy, conceal, or alter, any and all communications and documents
                     relevant to this matter, including by way of example, and without limitation, emails; text
                     messages, voicemails, records, files, and other data, wherever located and regardless of the
                     format or media. Be forewarned that purposeful destruction of such evidence could result in
                     penalties, including legal sanctions.

                     This notice is without prejudice to any of NuVasive's iights, powers, privileges, remedies and
                     defenses, now existing or hereafter arising, all of which are hereby expressly reserved and this
                     letter shall not entitle Absolute Medical to any further notice or demand. NuV asive will take
                     such action as is n~cessary in order to protect its legal interests. Such action may include
                     commencing legal proceedings in order to seek injunctive relief and/or damages.



                                                                                  rn~
                                                                                  ~opher W. Cardwell
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From: Bryan Busch [mallto:Brvan.Busch@arlaw.com]
Sent: Tuesday, December 5, 2017 11:29 AM
To: Chris cardwell
Subject: Re: NuVaslve/Absolute

Chris, thx for the response. The 2 reps that have not resigned are Thad Bragulla and Brennan Burkhart. The 3 reps that
have resigned are Dave Hawley, Ryan Miller and Brandon Gottstein.

Bryan E. Busch
Adams and Reese, LLP




On Dec 4, 2017, at 10:30 PM, Chris Cardwell <ccardwell@.gsrm.com> wrote:

        Brian - I appreciate your client's willingness to cooperate in the short term. Why don't we try to
        schedule a face to face to try to reach an agreement on expectations/obligations going forward in the
        next few weeks. My client wants to be reasonable, but it needs some assurances that your client's
        "resignation" is not j ust an excuse to shirk his contractual obligations and go provide services for one of
        my client's competitors.

        While we try to work out issues between our clients, will you please identify the reps still affiliated with
        Absolute/NuVaslve and provide me with the non-compete agreements of the reps who moved on.

        Also, I'll take a stab at a draft agreement for your client to allow NuVasive to contact, hire, and direct its
        representatives and get it to you asap.

        Thanks,

        Chris



       From: Bryan Busch [mallto:Bryan.Busch@adaw.com]
       Sent: Monday, December 4, 2017 4:34 PM
       To: Chris cardwell
       Subject: RE: NuVaslve/Absolute

        My client has no problem releasing and/or consenting to your client's use of the sales
        representatives. My client reached out to Mr. Singer on Friday about a transition and the need for
        assistance covering cases but has not received any material response. Please let us know how to assist
        and minimize any alleged business interruption for NuVasive. Thx.

                                                                                                                 EXHIBIT

                                                                                                          I         a
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               Bryan Busch
                Partner
                ADAMS AND REESE LLP
                3424 Peachtree Road NE, Suite 450 I Atlanta, GA 30326
                main 470.427.3700 I direct 470.427.37021
                efax 470.427.3676 I fax 404.500.5975
                bryan.busch@arlaw.com

                website bio vCard map       ~ ~':.!j     m
    From: Chris Cardwell [mailto: ccardwell@gsrm.com]
    Sent: Friday, December 01, 2017 7:39 PM
    To: Bryan Busch
    Subject: NuVaslve/ Absolute



     Bryan,



    Followi ng up on today's conversation, it's my understanding that yo ur client is unable to cover cases
    going forward, and has requ est ed that NuVasive provide assistance and case coverage. NuVasive will
    accept responsibility for covering cases of which it has reasonable adva nced knowledge, and w ill directly
    compensate the sales representatives w ho cover the cases. In that regard, NuVasive requests that your
    client consent to its release of its sales representatives to NuVasive for case coverage purposes .

     Due to the urgent nature of this issue, please let me know if you cl ient objects to this proposal by 2:00
     tomorrow. I'm available via email or cel l at 615-424-3699.



     Chris Cardwell
     CONFIDENTIALITY NOTICE : This email may contain privileged, confidential and/or other
     legally-protected information and is meant only for the use of the specific intended addressee(s).
     Your receipt is not intended to waive any applicable privilege. If you have received this email in
     error, you may not use, copy or retransmit it. Please delete it and all attachments immediately
     and notify the sender via separate emai l or by call ing our offices at 6 15-244-4994 .




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                                                                                  GULLETT SANFORD
    GSRM
    . LAW
                                                                                  ROBINSON & MARTIN PUC
                                                                                  ISOT111RoAVENUE SoUTH, Sum 1700
                                                                                  N.t.slMUE. TN 37201
                                                                                  .. 615.244.4994
                                                                                  , 615.256.6339
    December 13,.2017                                                             w GSRM.COM




    Bryan E. Busch, Esq.
    Adams & Reese, LLP
    3424 Peachtree Road NE, Suite 450
    Atlanta, GA 30326

    Re:       Absolute Medical

    Dear Bryan:

    I write on behalf of my client, NuVasive, Inc. (''NuVasive). Pursuant to Section 9.03 of the
    January 1, 2017, Exclusive Sales Agreement (the "Agreement") between our clients,. this letter
    constitutes NuVasive's notice to terminate Absolute Medical's right to be the exclusive
    distributor ofNuVasive products within Absolute MedicaPs current sales territory. Pursuant to
    Section 12.03 of the Agreement, your client is receiving a copy of this letter via overnight
    courier.

    As noted in my December 5, 2017, em.ail, NuVasive possesses information which indicates that
    at least   two
                 of your client's fonner Representative Affiliates - Dave Hawley and Ryan Miller-.
    are soliciting stirgeons within their Absolute Medical territories on behalf of Alphatec Spine, Inc.
    ("Alphatec"). Now, NuVasive has information which indicates that your client's distributor
    principal - Greg Soufleris - is soliciting business on behalf of Alphatec, yet your client       nothas
    updated Exhibit G to the Agreement. These reports of unlawful competitive behavior, when
    paired with your client's failure to attempt to compel its former Representative Affiliates'
    compliance with their non-compete obligations or even produce their Compliance Agreements,
    leads NuVasive to conclude that your client has no intent to comply with Section 5.09 of the
    Agreement.

    As you know, the Agreement expires on January l, 2022. Until the earlier of that date or our
    clients reaching an agreement, NuVasive, pursuant to Section 9.03 of the Agreement, terminates
    your client's right to exclusivity within its sales territory. Please understand that this termination
    does not affect your client's obligation to sell NuVasive's products within its sales territory in
    accordance with the Agreement's tenns and conditions; it simply terminates its right to be the
    exclusive sales representative within that territory. That said, pursuant to Section 9.06(c) of the
    Agreement, as well as the statement in your December-4, 2017, email to me that your client "has
    no problem releasing and/or consenting to your client's use of the sale representatives, my client
    intends to engage your client's remaining Representative Affiliates -Thad Bragulla ("Bragulla")
    and Brennan Burkhart ("Burkhart") - to perfonn services for it within Absolute's sales territory.




   ' 711987.112012811                                                                                    EXHIBIT
                                                                                                              c. ·,
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     Bryan E. Busch, Esq.
     December 13, 2017
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    Finally, please let me know a time in the next week to ten days when you and your client are
    available for a meeting with Mark Singer, Brian Johnson, and me to discuss our clients'
    relationship going forward, including, without limitation, your client's plan to: (a) work with
    NuVasive throughout the remainder of the Agreement's term; (b) ensure that its current
    Representative Affiliates including, without limitation, Mr. Soufleris, are subject to and honor
    their Compliance Agreements; (c) compel its former Representative Affiliates to honor their
    Compliance Agreements; (d) effectuate an ord.erly transfer of Bragulla and Burkhart to
    NuVasive; and (e) hire sufficient Representative Affiliates to adequately cover its sales territory.

    I look forward to your client's upcoming compliance with the Agreement, and to hearing from
    you about a meeting date.




     CWC/ld

     cc: Greg Soufleris




    71198~.1/2012811
